 Fill in this information to identify your case and this filing:
 Debtor 1               Tino                     Francisco                Calderon
                        First Name               Middle Name              Last Name

 Debtor 2            Raymond                     C.                       McDermett
 (Spouse, if filing) First Name                  Middle Name              Last Name


 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number            19-11240                                                                                                    Check if this is an
 (if known)
                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                     What is the property?                               Do not deduct secured claims or exemptions. Put the
112 Roble Roja Drive, Georgetown,                        Check all that apply.                               amount of any secured claims on Schedule D:
Texas 78633                                                   Single-family home                             Creditors Who Have Claims Secured by Property.
                                                              Duplex or multi-unit building                  Current value of the            Current value of the
S9276 - SHADY OAKS ESTATES SEC 4                              Condominium or cooperative                     entire property?                portion you own?
PH 5, BLOCK E, Lot 11, ACRE                                   Manufactured or mobile home                                $597,176.00                  $597,176.00
                                                              Land
Williamson                                                    Investment property                            Describe the nature of your ownership
County                                                        Timeshare                                      interest (such as fee simple, tenancy by the
                                                              Other                                          entireties, or a life estate), if known.

                                                                                                             fee simple
                                                         Who has an interest in the property?
                                                         Check one.
                                                              Debtor 1 only                                       Check if this is community property
                                                              Debtor 2 only                                       (see instructions)
                                                              Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another

                                                         Other information you wish to add about this item, such as local
                                                         property identification number:  S9276 - SHADY OAKS E

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................            $597,176.00




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 1
Debtor 1         Tino Francisco Calderon
Debtor 2         Raymond C. McDermett                                                                Case number (if known)         19-11240


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes

3.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Dodge                        Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    Ram 1500
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     2019                                                                      entire property?                       portion you own?
                                                            Debtor 1 and Debtor 2 only
Approximate mileage: 29,000                                 At least one of the debtors and another            $39,500.00                           $39,500.00
Other information:
2019 Dodge Ram 1500 (approx. 29,000                         Check if this is community property
miles)                                                      (see instructions)

3.2.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Mini                         Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    Cooper
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     2003
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 64,000                                 At least one of the debtors and another             $2,687.00                             $2,687.00
Other information:
2003 Mini Cooper (approx. 64,000                            Check if this is community property
miles)                                                      (see instructions)

3.3.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Ford                         Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    Flex
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     2012
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 65,000                                 At least one of the debtors and another            $13,525.00                           $13,525.00
Other information:
2012 Ford Flex (approx. 65,000 miles)                       Check if this is community property
                                                            (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

4.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                                                  Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    Golf Cart
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Other information:                                          At least one of the debtors and another             $2,000.00                             $2,000.00
Golf Cart
                                                            Check if this is community property
                                                            (see instructions)
5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................            $57,712.00




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 2
Debtor 1       Tino Francisco Calderon
Debtor 2       Raymond C. McDermett                                                        Case number (if known)    19-11240


 Part 3:         Describe Your Personal and Household Items
                                                                                                                          Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                          portion you own?
                                                                                                                          Do not deduct secured
                                                                                                                          claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               See continuation page(s).                                                                           $13,985.00


7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............
                               4 TVs $800, 2 computers $150, computer $225, printer $50, video game                                 $1,575.00
                                system $50, tablet $100
                                smart phone $200

8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............


9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............
                               Bicycle                                                                                                  $50.00


10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
           No
           Yes. Describe............
                               38 special gun                                                                                         $200.00

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
           No
           Yes. Describe............
                               mens clothing                                                                                          $500.00


12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
           No
           Yes. Describe............
                               See continuation page(s).                                                                            $4,600.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
           No
           Yes. Describe............
                               Dog                                                                                                       $0.00




Official Form 106A/B                                          Schedule A/B: Property                                                      page 3
Debtor 1          Tino Francisco Calderon
Debtor 2          Raymond C. McDermett                                                                                              Case number (if known)                   19-11240

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                 $20,910.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                       Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                       portion you own?
                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
                                                                                                                                                                                                                   $500.00
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                   Institution name:

             17.1.       Checking account:                      Checking account Chase                                                                                                                  $2,600.00
             17.2.       Checking account:                      Checking account Austin Telco                                                                                                               $430.00

             17.3.       Savings account:                       Savings account Austin Telco                                                                                                                $101.80

             17.4.       Certificates of deposit:               Certificates of deposit Austin Telco                                                                                                  $11,190.00
             17.5.       Other financial account: Money Market account Austin Telco                                                                                                                     $5,606.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
            Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
            No
            Yes. Give specific
            information about
            them...............................................
                                               Name of entity:                                                                                          % of ownership:

                                                Caye South Management Group Inc. Assets of
                                                business include restaurant/bar furnishings equipt;,
                                                IBC checking account, Liquor License permit,
                                                Trademark for 'Splash Day'                                                                                       65%                                            $1.00




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                                  page 4
Debtor 1         Tino Francisco Calderon
Debtor 2         Raymond C. McDermett                                                                 Case number (if known)    19-11240

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:            Institution name:
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                        Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific     MCDERMETT-CALDERON REV LIV TRUS. Only asset of Trust is Debtor's                                                       $0.00
           information about them homestead located at 112 Roble Roja Drive, Georgetown, Texas and
                                               disclosed and valued at $597,176 on schedule A.

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                                      Federal:
           about them, including whether
           you already filed the returns                                                                                       State:
           and the tax years.....................................
                                                                                                                               Local:



Official Form 106A/B                                                         Schedule A/B: Property                                                       page 5
Debtor 1        Tino Francisco Calderon
Debtor 2        Raymond C. McDermett                                                        Case number (if known)     19-11240

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                 Alimony:

                                                                                                          Maintenance:

                                                                                                          Support:

                                                                                                          Divorce settlement:

                                                                                                          Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information Caye South Managent Group Inc. owes Ray McDermett $120,000.                                 $120,000.00
                                                  Currently uncollectible. Caye South Management Group is in a
                                                  Chapter 11 Bankruptcy.

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance
           company of each policy
           and list its value................   Company name:                            Beneficiary:                     Surrender or refund value:

                                                Life insurance Whole Cash
                                                surrender value $0.                      Tino Calderon                                       $0.00
                                                Life insurance Whole life insurance
                                                cash surrender value $0                  Tino Calderon                                       $0.00
                                                Whole Life insurance Cash
                                                surrender value $0                       Tino Calderon                                       $0.00
                                                Whole Life insurance Cash
                                                surrender value $0                       Ray McDermett                                       $0.00
                                                Whole Life insurnace Cash
                                                surrender value $0                       McDermett-Calderon Trust                            $0.00
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
           No
           Yes. Give specific information


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
           No
           Yes. Describe each claim..............


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
           No
           Yes. Describe each claim..............




Official Form 106A/B                                              Schedule A/B: Property                                                      page 6
Debtor 1         Tino Francisco Calderon
Debtor 2         Raymond C. McDermett                                                                                Case number (if known)             19-11240

35. Any financial assets you did not already list

            No
            Yes. Give specific information


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................   $140,428.80


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................


41. Inventory

            No
            Yes. Describe................


42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
Debtor 1          Tino Francisco Calderon
Debtor 2          Raymond C. McDermett                                                                               Case number (if known)             19-11240

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................


48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................


50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................


51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 8
Debtor 1           Tino Francisco Calderon
Debtor 2           Raymond C. McDermett                                                                                       Case number (if known)                19-11240


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

             No
             Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                                          $0.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $597,176.00

56. Part 2: Total vehicles, line 5                                                                                  $57,712.00

57. Part 3: Total personal and household items, line 15                                                             $20,910.00

58. Part 4: Total financial assets, line 36                                                                       $140,428.80

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................           $219,050.80               property total                 +          $219,050.80


63. Total of all property on Schedule A/B.                                                                                                                                                  $816,226.80
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                   page 9
Debtor 1    Tino Francisco Calderon
Debtor 2    Raymond C. McDermett                                                Case number (if known)   19-11240


6.   Household goods and furnishings (details):

     2 Sofas $300, 4 chairs $150, 3 end tables $200, coffee table $50                                                $700.00

     2 dining room tables and chairs $600 each                                                                      $1,200.00

     kitchenware/dishes/linens                                                                                       $300.00

     3 beds $150, bed stand $150, 3 dressers $100, desk $50, office chair $10, bookshelf $25                         $485.00

     7 lamps                                                                                                         $200.00

     lawn mower                                                                                                     $1,200.00

     misc. tools                                                                                                     $100.00

     patio furniture (dining set, sofa, chairs, and side tables)                                                    $1,500.00

     Grand piano                                                                                                    $3,000.00

     Stove $100, Microwave$50, vacuum $50, refrigerator $300, washer/dryer $250, misc kitchen                        $850.00
     appliances $100
     cds/dvds/tapes/records $2000                                                                                   $2,000.00

     Misc home decor                                                                                                 $900.00

     Coins collection                                                                                                $200.00

     Office furniture (desk, chair, filing cabinet)                                                                  $100.00

     15 Paintings of approximately equal value                                                                      $1,050.00

     Used household clothing and holiady decor in storage                                                            $200.00

12. Jewelry (details):

     wedding rings $200, watch $400                                                                                  $600.00

     ring $1000                                                                                                     $1,000.00

     diamond $3000                                                                                                  $3,000.00




Official Form 106A/B                                   Schedule A/B: Property                                          page 10
 Fill in this information to identify your case:
 Debtor 1            Tino                 Francisco              Calderon
                     First Name           Middle Name            Last Name
 Debtor 2            Raymond              C.                     McDermett
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number         19-11240                                                                                        amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $597,176.00                                     Const. art. 16 §§ 50, 51, Texas
S9276 - SHADY OAKS ESTATES SEC 4 PH                                               100% of fair market     Prop. Code §§ 41.001-.002
5, BLOCK E, Lot 11, ACRE                                                          value, up to any        (Claimed: $354,985.03
Parcel: S9276 - SHADY OAKS E                                                      applicable statutory    100% of fair market value, up to any
Line from Schedule A/B: 1.1                                                       limit                   applicable statutory limit)

Brief description:                                          $2,687.00                                     Tex. Prop. Code §§ 42.001(a),
2003 Mini Cooper (approx. 64,000 miles)                                           100% of fair market     42.002(a)(9) (Claimed: $2,687.00
                                                                                  value, up to any        100% of fair market value, up to any
Line from Schedule A/B:      3.2
                                                                                  applicable statutory    applicable statutory limit)
                                                                                  limit




3.   Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
Debtor 1      Tino Francisco Calderon
Debtor 2      Raymond C. McDermett                                                   Case number (if known)   19-11240

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                     $13,525.00                                   Tex. Prop. Code §§ 42.001(a),
2012 Ford Flex (approx. 65,000 miles)                                        100% of fair market    42.002(a)(9) (Claimed: $13,525.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:    3.3
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $700.00                                    Tex. Prop. Code §§ 42.001(a),
2 Sofas $300, 4 chairs $150, 3 end tables                                    100% of fair market    42.002(a)(1) (Claimed: $700.00
$200, coffee table $50                                                       value, up to any       100% of fair market value, up to any
Line from Schedule A/B:  6                                                   applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                      $1,200.00                                   Tex. Prop. Code §§ 42.001(a),
2 dining room tables and chairs $600 each                                    100% of fair market    42.002(a)(1) (Claimed: $1,200.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $300.00                                    Tex. Prop. Code §§ 42.001(a),
kitchenware/dishes/linens                                                    100% of fair market    42.002(a)(1) (Claimed: $300.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $485.00                                    Tex. Prop. Code §§ 42.001(a),
3 beds $150, bed stand $150, 3 dressers                                      100% of fair market    42.002(a)(1) (Claimed: $485.00
$100, desk $50, office chair $10, bookshelf                                  value, up to any       100% of fair market value, up to any
$25                                                                          applicable statutory   applicable statutory limit)
Line from Schedule A/B:  6                                                   limit

Brief description:                                       $200.00                                    Tex. Prop. Code §§ 42.001(a),
7 lamps                                                                      100% of fair market    42.002(a)(1) (Claimed: $200.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                      $1,200.00                                   Tex. Prop. Code §§ 42.001(a),
lawn mower                                                                   100% of fair market    42.002(a)(1) (Claimed: $1,200.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $100.00                                    Tex. Prop. Code §§ 42.001(a),
misc. tools                                                                  100% of fair market    42.002(a)(1) (Claimed: $100.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                      $1,500.00                                   Tex. Prop. Code §§ 42.001(a),
patio furniture (dining set, sofa, chairs, and                               100% of fair market    42.002(a)(1) (Claimed: $1,500.00
side tables)                                                                 value, up to any       100% of fair market value, up to any
Line from Schedule A/B:   6                                                  applicable statutory   applicable statutory limit)
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
Debtor 1      Tino Francisco Calderon
Debtor 2      Raymond C. McDermett                                                   Case number (if known)   19-11240

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $3,000.00                                   Tex. Prop. Code §§ 42.001(a),
Grand piano                                                                  100% of fair market    42.002(a)(1) (Claimed: $3,000.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $850.00                                    Tex. Prop. Code §§ 42.001(a),
Stove $100, Microwave$50, vacuum $50,                                        100% of fair market    42.002(a)(1) (Claimed: $850.00
refrigerator $300, washer/dryer $250,                                        value, up to any       100% of fair market value, up to any
misc kitchen appliances $100                                                 applicable statutory   applicable statutory limit)
Line from Schedule A/B: 6                                                    limit

Brief description:                                      $2,000.00                                   Tex. Prop. Code §§ 42.001(a),
cds/dvds/tapes/records $2000                                                 100% of fair market    42.002(a)(1) (Claimed: $2,000.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $900.00                                    Tex. Prop. Code §§ 42.001(a),
Misc home decor                                                              100% of fair market    42.002(a)(1) (Claimed: $900.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $200.00                                    Tex. Prop. Code §§ 42.001(a),
Coins collection                                                             100% of fair market    42.002(a)(1) (Claimed: $200.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $100.00                                    Tex. Prop. Code §§ 42.001(a),
Office furniture (desk, chair, filing cabinet)                               100% of fair market    42.002(a)(1) (Claimed: $100.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                      $1,050.00                                   Tex. Prop. Code §§ 42.001(a),
15 Paintings of approximately equal value                                    100% of fair market    42.002(a)(1) (Claimed: $1,050.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $200.00                                    Tex. Prop. Code §§ 42.001(a),
Used household clothing and holiady decor                                    100% of fair market    42.002(a)(1) (Claimed: $200.00
in storage                                                                   value, up to any       100% of fair market value, up to any
Line from Schedule A/B: 6                                                    applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                      $1,575.00                $1,575.00          Tex. Prop. Code §§ 42.001(a),
4 TVs $800, 2 computers $150, computer                                       100% of fair market    42.002(a)(1)
$225, printer $50, video game system $50,                                    value, up to any
tablet $100                                                                  applicable statutory
smart phone $200                                                             limit
Line from Schedule A/B:   7


Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
Debtor 1      Tino Francisco Calderon
Debtor 2      Raymond C. McDermett                                                   Case number (if known)   19-11240

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
Bicycle                                                                      100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                                    Tex. Prop. Code §§ 42.001(a),
38 special gun                                                               100% of fair market    42.002(a)(7) (Claimed: $200.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:    10
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $500.00                                    Tex. Prop. Code §§ 42.001(a),
mens clothing                                                                100% of fair market    42.002(a)(5) (Claimed: $500.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $600.00                                    Tex. Prop. Code §§ 42.001(a),
wedding rings $200, watch $400                                               100% of fair market    42.002(a)(6) (Claimed: $600.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                      $1,000.00                                   Tex. Prop. Code §§ 42.001(a),
ring $1000                                                                   100% of fair market    42.002(a)(6) (Claimed: $1,000.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                      $3,000.00                                   Tex. Prop. Code §§ 42.001(a),
diamond $3000                                                                100% of fair market    42.002(a)(6) (Claimed: $3,000.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                        $0.00                                     Tex. Ins. Code §§ 1108.001,
Life insurance Whole Cash surrender                                          100% of fair market    1108.051 (Claimed: $0.00
value $0.                                                                    value, up to any       100% of fair market value, up to any
Line from Schedule A/B: 31                                                   applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                        $0.00                                     Tex. Ins. Code §§ 1108.001,
Life insurance Whole life insurance cash                                     100% of fair market    1108.051 (Claimed: $0.00
surrender value $0                                                           value, up to any       100% of fair market value, up to any
Line from Schedule A/B: 31                                                   applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                        $0.00                                     Tex. Ins. Code §§ 1108.001,
Whole Life insurance Cash surrender                                          100% of fair market    1108.051 (Claimed: $0.00
value $0                                                                     value, up to any       100% of fair market value, up to any
Line from Schedule A/B: 31                                                   applicable statutory   applicable statutory limit)
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 4
Debtor 1      Tino Francisco Calderon
Debtor 2      Raymond C. McDermett                                                   Case number (if known)   19-11240

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                        $0.00                                     Tex. Ins. Code §§ 1108.001,
Whole Life insurance Cash surrender                                          100% of fair market    1108.051 (Claimed: $0.00
value $0                                                                     value, up to any       100% of fair market value, up to any
Line from Schedule A/B: 31                                                   applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                        $0.00                                     Tex. Ins. Code §§ 1108.001,
Whole Life insurnace Cash surrender                                          100% of fair market    1108.051 (Claimed: $0.00
value $0                                                                     value, up to any       100% of fair market value, up to any
Line from Schedule A/B: 31                                                   applicable statutory   applicable statutory limit)
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 5
                                                 UNITED STATES BANKRUPTCY COURT
                                                    WESTERN DISTRICT OF TEXAS
                                                          AUSTIN DIVISION
  IN RE: Tino Francisco Calderon                                                            CASE NO       19-11240
         Raymond C. McDermett
                                                                                            CHAPTER       7
                                                                         AMENDED
                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                   Scheme Selected: State
                                                                Gross               Total         Total         Total Amount   Total Amount
No.     Category                                        Property Value      Encumbrances         Equity               Exempt    Non-Exempt


1.      Real property                                    $597,176.00          $242,190.97   $354,985.03         $354,985.03            $0.00

3.      Motor vehicles (cars, etc.)                       $16,212.00                $0.00    $16,212.00          $16,212.00            $0.00

4.      Water/Aircraft, Motor Homes,                       $2,000.00                $0.00     $2,000.00                $0.00     $2,000.00
        Rec. veh. and access.

6.      Household goods and furnishings                   $13,985.00                $0.00    $13,985.00          $13,985.00            $0.00

7.      Electronics                                        $1,575.00                $0.00     $1,575.00           $1,575.00            $0.00

8.      Collectibles of value                                  $0.00                $0.00         $0.00                $0.00           $0.00

9.      Equipment for sports and hobbies                      $50.00                $0.00       $50.00                $50.00           $0.00

10.     Firearms                                             $200.00                $0.00      $200.00               $200.00           $0.00

11.     Clothes                                              $500.00                $0.00      $500.00               $500.00           $0.00

12.     Jewelry                                            $4,600.00                $0.00     $4,600.00           $4,600.00            $0.00

13.     Non-farm animals                                       $0.00                $0.00         $0.00                $0.00           $0.00

14.     Unlisted pers. and household items-                    $0.00                $0.00         $0.00                $0.00           $0.00
        incl. health aids

16.     Cash                                                 $500.00                $0.00      $500.00                 $0.00       $500.00

17.     Deposits of money                                 $19,927.80            $7,408.65    $12,519.15                $0.00    $12,519.15

18.     Bonds, mutual funds or publicly                        $0.00                $0.00         $0.00                $0.00           $0.00
        traded stocks

19.     Non-pub. traded stock and int.                         $1.00                $0.00         $1.00                $0.00           $1.00
        in businesses

20.     Govt. and corp. bonds and other                        $0.00                $0.00         $0.00                $0.00           $0.00
        instruments

21.     Retirement or pension accounts                         $0.00                $0.00         $0.00                $0.00           $0.00

22.     Security deposits and prepayments                      $0.00                $0.00         $0.00                $0.00           $0.00

23.     Annuities                                              $0.00                $0.00         $0.00                $0.00           $0.00

24.     Interests in an education IRA                          $0.00                $0.00         $0.00                $0.00           $0.00

25.     Trusts, equit. or future int. (not in line 1)          $0.00                $0.00         $0.00                $0.00           $0.00

26.     Patents, copyrights, and other                         $0.00                $0.00         $0.00                $0.00           $0.00
        intellectual prop.
27.     Licenses, franchises, other                            $0.00                $0.00         $0.00                $0.00           $0.00
        general intangibles

28.     Tax refunds owed to you                                $0.00                $0.00         $0.00                $0.00           $0.00
                                             UNITED STATES BANKRUPTCY COURT
                                                WESTERN DISTRICT OF TEXAS
                                                      AUSTIN DIVISION
  IN RE: Tino Francisco Calderon                                                            CASE NO       19-11240
         Raymond C. McDermett
                                                                                            CHAPTER       7
                                                                    AMENDED
                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                              Continuation Sheet # 1
Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                   Scheme Selected: State
                                                           Gross                  Total           Total         Total Amount   Total Amount
No.     Category                                   Property Value         Encumbrances           Equity               Exempt    Non-Exempt


29.     Family support                                     $0.00                    $0.00         $0.00               $0.00            $0.00

30.     Other amounts someone owes you               $120,000.00                    $0.00   $120,000.00               $0.00    $120,000.00

31.     Interests in insurance policies                    $0.00                    $0.00         $0.00               $0.00            $0.00

32.     Any int. in prop. due you from                     $0.00                    $0.00         $0.00               $0.00            $0.00
        someone who has died

33.     Claims vs. third parties, even                     $0.00                    $0.00         $0.00               $0.00            $0.00
        if no demand

34.     Other contin. and unliq. claims                    $0.00                    $0.00         $0.00               $0.00            $0.00
        of every nature

35.     Any financial assets you did                       $0.00                    $0.00         $0.00               $0.00            $0.00
        not already list

38.     Accounts rec. or commissions you                   $0.00                    $0.00         $0.00               $0.00            $0.00
        already earned

39.     Office equipment, furnishings,                     $0.00                    $0.00         $0.00               $0.00            $0.00
        and supplies

40.     Mach., fixt., equip., bus. suppl.,                 $0.00                    $0.00         $0.00               $0.00            $0.00
        tools of trade

41.     Inventory                                          $0.00                    $0.00         $0.00               $0.00            $0.00

42.     Interests in partnerships or                       $0.00                    $0.00         $0.00               $0.00            $0.00
        joint ventures

43.     Customer and mailing lists, or                     $0.00                    $0.00         $0.00               $0.00            $0.00
        other compilations

44.     Any business-related property not                  $0.00                    $0.00         $0.00               $0.00            $0.00
        already listed

47.     Farm animals                                       $0.00                    $0.00         $0.00               $0.00            $0.00

48.     Crops--either growing or harvested                 $0.00                    $0.00         $0.00               $0.00            $0.00

49.     Farm/fishing equip., impl., mach.,                 $0.00                    $0.00         $0.00               $0.00            $0.00
        fixt., tools

50.     Farm and fishing supplies, chemicals,              $0.00                    $0.00         $0.00               $0.00            $0.00
        and feed

51.     Farm/commercial fishing-related prop.              $0.00                    $0.00         $0.00               $0.00            $0.00
        not listed

53.     Any other property of any kind not                 $0.00                    $0.00         $0.00               $0.00            $0.00
        already listed

                    TOTALS:                          $776,726.80              $249,599.62   $527,127.18         $392,107.03    $135,020.15
                                             UNITED STATES BANKRUPTCY COURT
                                                WESTERN DISTRICT OF TEXAS
                                                      AUSTIN DIVISION
  IN RE: Tino Francisco Calderon                                                              CASE NO        19-11240
         Raymond C. McDermett
                                                                                             CHAPTER         7
                                                                   AMENDED
                           SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                               Continuation Sheet # 2




Surrendered Property:
The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for purposes
of this analysis. The below listed items are to be returned to the lienholder.

  Property Description                                                                   Market Value                        Lien             Equity

Real Property
(None)
Personal Property

2019 Dodge Ram 1500 (approx. 29,000 miles)                                                  $39,500.00                $64,868.94                  $0.00


                   TOTALS:                                                                  $39,500.00                $64,868.94                  $0.00


Non-Exempt Property by Item:
The following property, or a portion thereof, is non-exempt.

  Property Description                                                 Market Value              Lien               Equity      Non-Exempt Amount

Real Property
(None)
Personal Property

Golf Cart                                                                   $2,000.00                            $2,000.00                $2,000.00

$500                                                                         $500.00                              $500.00                   $500.00

Checking account Chase                                                      $2,600.00                            $2,600.00                $2,600.00

Checking account Austin Telco                                                $430.00                              $430.00                   $430.00

Savings account Austin Telco                                                 $101.80                              $101.80                   $101.80

Money Market account Austin Telco                                           $5,606.00                            $5,606.00                $5,606.00

Certificates of deposit Austin Telco                                      $11,190.00        $7,408.65            $3,781.35                $3,781.35

Caye South Management Group Inc. Assets of business include                     $1.00                               $1.00                     $1.00

Caye South Managent Group Inc. owes Ray McDermett $120,000.              $120,000.00                        $120,000.00                 $120,000.00


                   TOTALS:                                               $142,428.80        $7,408.65       $135,020.15                 $135,020.15
                                       UNITED STATES BANKRUPTCY COURT
                                          WESTERN DISTRICT OF TEXAS
                                                AUSTIN DIVISION
IN RE: Tino Francisco Calderon                                                    CASE NO   19-11240
       Raymond C. McDermett
                                                                                  CHAPTER   7
                                                              AMENDED
                      SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                         Continuation Sheet # 3




                                                          Summary
       A. Gross Property Value (not including surrendered property)                              $776,726.80

       B. Gross Property Value of Surrendered Property                                            $39,500.00

       C. Total Gross Property Value (A+B)                                                       $816,226.80

       D. Gross Amount of Encumbrances (not including surrendered property)                      $249,599.62

       E. Gross Amount of Encumbrances on Surrendered Property                                    $64,868.94

       F. Total Gross Encumbrances (D+E)                                                         $314,468.56

       G. Total Equity (not including surrendered property) / (A-D)                              $527,127.18

       H. Total Equity in surrendered items (B-E)                                                      $0.00

       I. Total Equity (C-F)                                                                     $527,127.18

       J. Total Exemptions Claimed                                                               $392,107.03

       K. Total Non-Exempt Property Remaining (G-J)                                             $135,020.15
  Fill in this information to identify your case:
  Debtor 1             Tino                  Francisco              Calderon
                       First Name            Middle Name            Last Name

  Debtor 2            Raymond                C.                     McDermett
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

  Case number          19-11240                                                                                         Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one              Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As           Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the          Do not deduct the      that supports this     portion
        creditor's name.                                                                  value of collateral    claim                  If any

  2.1                                             Describe the property that
                                                  secures the claim:                               $7,408.65            $11,190.00
Austin Telco Fcu
Creditor's name
                                                  CD
8929 Shoal Creek Blvd
Number       Street


                                                  As of the date you file, the claim is: Check all that apply.
                                                      Contingent
Austin                   TX      78757                Unliquidated
City                     State   ZIP Code
                                                      Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Secured
   to a community debt
Date debt was incurred           04/2019          Last 4 digits of account number        0     0    0    1




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                  $7,408.65

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                          page 1
Debtor 1      Tino Francisco Calderon
Debtor 2      Raymond C. McDermett                                                        Case number (if known)      19-11240

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                            $95,524.00             $597,176.00
Chase Mortgage                     112 Roble Roja Drive
Creditor's name
Chase Records Center/Attn: Correspondenc
Number     Street
Mail Code LA4 5555 700 Kansas Ln
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Monroe                  LA      71203             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Credit Line Secured
   to a community debt
Date debt was incurred          02/2018       Last 4 digits of account number        1     9    4    2

  2.3                                         Describe the property that
                                              secures the claim:                           $137,948.00             $597,176.00
HomeBridge Financial Services
Creditor's name
                                              112 Roble Roja Drive
Attn: Bankruptcy
Number     Street
194 Wood Avenue South, Ninth Floor
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Iselin                  NJ      08830             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Conventional Real Estate Mortgage
   to a community debt
Date debt was incurred          05/2016       Last 4 digits of account number        8     1    7    6




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $233,472.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2
Debtor 1      Tino Francisco Calderon
Debtor 2      Raymond C. McDermett                                                        Case number (if known)      19-11240

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.4                                         Describe the property that
                                              secures the claim:                            $64,868.94              $39,500.00        $25,368.94
TD Auto Finance LLC                           2019 Ram Truck
Creditor's name
P.O. Box 551080
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Jacksonville            FL      32255             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred          07/2018       Last 4 digits of account number        8     2    8    0

  2.5                                         Describe the property that
                                              secures the claim:                               $8,718.97           $597,176.00
Williamson County Appraisal District S9276 - SHADY OAKS
Creditor's name
625 FM 1460                          ESTATES SEC 4 PH 5, BLOCK
Number      Street                   E, Lo

                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Georgetown              TX      78626             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Property taxes
   to a community debt
Date debt was incurred          2019          Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $73,587.91

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                         $314,468.56

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3
Debtor 1       Tino Francisco Calderon
Debtor 2       Raymond C. McDermett                                                    Case number (if known)    19-11240

 Part 2:        List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and
then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Part 1,
list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1, do not fill out or
submit this page.


  1
        Williamson County                                                      On which line in Part 1 did you enter the creditor?      2.5
        Name
        c/o Lee Gordon                                                         Last 4 digits of account number
        Number       Street
        PO Box 1269


        Round Rock                               TX      78680
        City                                     State   ZIP Code




Official Form 106D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page 4
  Fill in this information to identify your case:
  Debtor 1             Tino                  Francisco              Calderon
                       First Name            Middle Name            Last Name

  Debtor 2            Raymond                C.                     McDermett
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

  Case number          19-11240                                                                                         Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                               $14,325.72         $14,325.72                 $0.00
Internal Revenue Service
Priority Creditor's Name                                   Last 4 digits of account number
Centralized Insolvency Office                              When was the debt incurred?          2017-2018
Number       Street
PO Box 7346                                                As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Philadelphia                    PA      19101-7346             Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
Debtor 1       Tino Francisco Calderon
Debtor 2       Raymond C. McDermett                                                     Case number (if known)       19-11240

  Part 1:        Your PRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the                     Total claim        Priority           Nonpriority
previous page.                                                                                                   amount             amount


   2.2                                                                                         $171,463.05                  $0.00   $171,463.05
Internal Revenue Service
Priority Creditor's Name                              Last 4 digits of account number
Centralized Insolvency Office                         When was the debt incurred?        2013-2018
Number       Street
PO Box 7346                                           As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Philadelphia               PA      19101-7346             Disputed
City                       State   ZIP Code
Who incurred the debt? Check one.                     Type of PRIORITY unsecured claim:
     Debtor 1 only                                       Domestic support obligations
     Debtor 2 only                                       Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                          Claims for death or personal injury while you were
     At least one of the debtors and another             intoxicated
     Check if this claim is for a community debt         Other. Specify
Is the claim subject to offset?
     No
     Yes
To Be paid via Chapter 11.

   2.3                                                                                          $42,802.24           $42,802.24            $0.00
Internal Revenue Service
Priority Creditor's Name                              Last 4 digits of account number
Centralized Insolvency Office                         When was the debt incurred?        2013
Number       Street
PO Box 7346                                           As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Philadelphia               PA      19101-7346             Disputed
City                       State   ZIP Code
Who incurred the debt? Check one.                     Type of PRIORITY unsecured claim:
     Debtor 1 only                                       Domestic support obligations
     Debtor 2 only                                       Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                          Claims for death or personal injury while you were
     At least one of the debtors and another             intoxicated
     Check if this claim is for a community debt         Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                            page 2
Debtor 1       Tino Francisco Calderon
Debtor 2       Raymond C. McDermett                                                     Case number (if known)       19-11240

  Part 1:        Your PRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the                     Total claim        Priority         Nonpriority
previous page.                                                                                                   amount           amount


   2.4                                                                                          $74,586.00           $74,586.00          $0.00
Texas Comptroller of Public Accounts
Priority Creditor's Name                              Last 4 digits of account number
POB 13528                                             When was the debt incurred?        2019
Number       Street
                                                      As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Austin                     TX      78711                  Disputed
City                       State   ZIP Code
Who incurred the debt? Check one.                     Type of PRIORITY unsecured claim:
     Debtor 1 only                                       Domestic support obligations
     Debtor 2 only                                       Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                          Claims for death or personal injury while you were
     At least one of the debtors and another             intoxicated
     Check if this claim is for a community debt         Other. Specify
Is the claim subject to offset?
     No
     Yes
To Be Paid Via Chapter 11.




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                          page 3
Debtor 1       Tino Francisco Calderon
Debtor 2       Raymond C. McDermett                                                             Case number (if known)      19-11240

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          $6,725.81
Amex                                                        Last 4 digits of account number         2 7 2            3
Nonpriority Creditor's Name
                                                            When was the debt incurred?           12/29/2016
Correspondence/Bankruptcy
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 981540                                                   Contingent
                                                                Unliquidated
                                                                Disputed
El Paso                         TX      79998
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                               $0.00
Assistant Attorney General                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
Bankruptcy & Collections Division MC 008
Number        Street                                        As of the date you file, the claim is: Check all that apply.
P. O. Box 12548                                                 Contingent
                                                                Unliquidated
                                                                Disputed
Austin                          TX      78711
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Attorney for -
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 4
Debtor 1       Tino Francisco Calderon
Debtor 2       Raymond C. McDermett                                                        Case number (if known)       19-11240

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.3                                                                                                                                $7,728.00
BBVA Compass                                             Last 4 digits of account number      6 7 0           8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/18/2018
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 10184                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Birmingham                    AL      35202
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                             $124,874.53
Business Financial Services                              Last 4 digits of account number      9 3        1    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2019
3301 N. University Drive
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 300                                                    Contingent
                                                             Unliquidated
                                                             Disputed
Coral Springs                 FL      33065
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           loan
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                                $2,899.23
Capital One                                              Last 4 digits of account number      2 4 5           7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/02/2002
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 30285                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Salt Lake City                UT      84130
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 5
Debtor 1       Tino Francisco Calderon
Debtor 2       Raymond C. McDermett                                                        Case number (if known)       19-11240

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.6                                                                                                                                $7,211.80
Capital One                                              Last 4 digits of account number      6 3        1    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/1997
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 30285                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Salt Lake City                UT      84130
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                                $4,590.71
Capital One                                              Last 4 digits of account number      8 7        9    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/1996
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 30285                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Salt Lake City                UT      84130
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                                $2,120.78
Capital One                                              Last 4 digits of account number      3 4        4    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/2006
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 30285                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Salt Lake City                UT      84130
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 6
Debtor 1       Tino Francisco Calderon
Debtor 2       Raymond C. McDermett                                                        Case number (if known)       19-11240

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.9                                                                                                                              $13,502.00
Citibank                                                 Last 4 digits of account number      3 7 7           9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/29/2017
Attn: Recovery/Centralized Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 790034                                                Contingent
                                                             Unliquidated
                                                             Disputed
St Louis                      MO      63179
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                                $1,889.00
Citibank                                                 Last 4 digits of account number      3 8 0           3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/01/1999
Attn: Recovery/Centralized Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 790034                                                Contingent
                                                             Unliquidated
                                                             Disputed
St Louis                      MO      63179
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unknown Loan Type
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                                $4,576.00
Citibank                                                 Last 4 digits of account number      7 5        4    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/2014
Attn: Recovery/Centralized Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 790034                                                Contingent
                                                             Unliquidated
                                                             Disputed
St Louis                      MO      63179
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 7
Debtor 1       Tino Francisco Calderon
Debtor 2       Raymond C. McDermett                                                        Case number (if known)       19-11240

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.12                                                                                                                                  $402.00
Citibank                                                 Last 4 digits of account number      2 8        1    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        07/2000
Attn: Recovery/Centralized Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 790034                                                Contingent
                                                             Unliquidated
                                                             Disputed
St Louis                      MO      63179
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                                $3,587.00
Citibank North America                                   Last 4 digits of account number      7 8 0           9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/10/2016
Citibank Corp/Centralized Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 790034                                                Contingent
                                                             Unliquidated
                                                             Disputed
St Louis                      MO      63179
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card - Best Buy
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                                   $45.00
Citibank/Exxon Mobile                                    Last 4 digits of account number      7 6        9    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/2017
Citibank Corp/Centralized Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 790034                                                Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63179
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 8
Debtor 1       Tino Francisco Calderon
Debtor 2       Raymond C. McDermett                                                        Case number (if known)       19-11240

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.15                                                                                                                                $6,474.00
Citibank/The Home Depot                                  Last 4 digits of account number      8 8        4    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        07/2016
Attn: Recovery/Centralized Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 790034                                                Contingent
                                                             Unliquidated
                                                             Disputed
St Louis                      MO      63179
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                                   $39.90
Comenity Bank/Wayfair                                    Last 4 digits of account number      2 4 7           3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        03/17/2019
Attn: Bankruptcy Dept
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 182125                                                Contingent
                                                             Unliquidated
                                                             Disputed
Columbus                      OH      43218
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                                $8,790.00
Compass Bank                                             Last 4 digits of account number      8 3        9    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/2018
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 10566                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Birmingham                    AL      35296
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 9
Debtor 1       Tino Francisco Calderon
Debtor 2       Raymond C. McDermett                                                        Case number (if known)       19-11240

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.18                                                                                                                                $6,463.00
Deptartment Store National Bank/Macy's                   Last 4 digits of account number      6 4 3           4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/18/2006
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
9111 Duke Boulevard                                          Contingent
                                                             Unliquidated
                                                             Disputed
Mason                         OH      45040
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes

  4.19                                                                                                                              $12,461.65
Discover Bank                                            Last 4 digits of account number      8 9        2    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/2013
Discover Products Inc
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 3025                                                  Contingent
                                                             Unliquidated
                                                             Disputed
New Albany                    OH      43054-3025
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                              $10,029.26
Discover Bank                                            Last 4 digits of account number      6 6        0    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/2015
Discover Products Inc
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 3025                                                  Contingent
                                                             Unliquidated
                                                             Disputed
New Albany                    OH      43054-3025
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 10
Debtor 1       Tino Francisco Calderon
Debtor 2       Raymond C. McDermett                                                        Case number (if known)       19-11240

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.21                                                                                                                              $40,000.00
EBF Partners LLC dba Everest Business Fu                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2019
dba Premium Merchant Funding
Number        Street                                     As of the date you file, the claim is: Check all that apply.
5 W. 37th Street                                             Contingent
Suite 1100                                                   Unliquidated
                                                             Disputed
New York                      NY      10018
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           loan
Is the claim subject to offset?
     No
     Yes

  4.22                                                                                                                              $11,464.05
First National Bank of Omaha                             Last 4 digits of account number      8 5        1    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/2016
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
1620 Dodge St Mailstop 4440                                  Contingent
                                                             Unliquidated
                                                             Disputed
Omaha                         NE      68197
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
New York Life




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 11
Debtor 1       Tino Francisco Calderon
Debtor 2       Raymond C. McDermett                                                        Case number (if known)       19-11240

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.23                                                                                                                                $8,090.32
Jani King of Austin                                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2019
2523 S. Lakeline Blvd.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Cedar Park                    TX      78613
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Services
Is the claim subject to offset?
     No
     Yes

  4.24                                                                                                                                $8,344.00
JPMorgan Chase Bank, N.A.                                Last 4 digits of account number      3 7        2    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/2006
s/b/m/t Chase Bank USA, N.A.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
c/o Robertson, Anschutz & Schneid, P.L.                      Contingent
6409 Congress Avenue, Suite 100                              Unliquidated
                                                             Disputed
Boca Raton                    FL      33487
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.25                                                                                                                                $4,376.00
JPMorgan Chase Bank, N.A.                                Last 4 digits of account number      9 2 7           9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        03/10/2017
s/b/m/t Chase Bank USA, N.A.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
c/o Robertson, Anschutz & Schneid, P.L.                      Contingent
6409 Congress Avenue, Suite 100                              Unliquidated
                                                             Disputed
Boca Raton                    FL      33487
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 12
Debtor 1       Tino Francisco Calderon
Debtor 2       Raymond C. McDermett                                                        Case number (if known)       19-11240

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.26                                                                                                                                  $500.00
Lowe's/Synchrony Bank                                    Last 4 digits of account number       8    0    2    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
POB 530914
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Atlanta                       GA      30353-0914
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.27                                                                                                                                    $0.00
MCcarthy, Holthus, & Ackerman, LLP                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1255 W. 15 th. St.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 1060                                                   Contingent
                                                             Unliquidated
                                                             Disputed
Plano                         TX      75075
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collecting for -
Is the claim subject to offset?
     No
     Yes

  4.28                                                                                                                              $51,841.91
Platinum Rapid Funding Group LTD                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2019
348 RXR Plaza
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Uniondale                     NY      11556
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           loan
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 13
Debtor 1       Tino Francisco Calderon
Debtor 2       Raymond C. McDermett                                                        Case number (if known)       19-11240

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.29                                                                                                                                $3,179.28
Synchrony Bank/Sams Club                                 Last 4 digits of account number      7 3 0           5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/10/2017
Attn: Bankruptcy Dept
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 965060                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.30                                                                                                                                $1,972.00
Synchrony Bank/Walmart                                   Last 4 digits of account number      8 0 6           6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        03/13/2017
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 965060                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.31                                                                                                                                   $90.00
Target                                                   Last 4 digits of account number      2 1 1           6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/29/2017
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 9475                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Minneapolis                   MN      55440
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 14
Debtor 1       Tino Francisco Calderon
Debtor 2       Raymond C. McDermett                                                        Case number (if known)       19-11240

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.32                                                                                                                                  $129.80
Transworld Systems                                       Last 4 digits of account number      4 0        5    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2019
500 Virginia Dr. Suite 512
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Washington               PA      19034
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collecting for - Trugreen
Is the claim subject to offset?
     No
     Yes

  4.33                                                                                                                                $1,131.00
Wells Fargo Bank                                         Last 4 digits of account number      7 2 8           0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/17/2015
MAC F823F-02F
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 10438                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Des Moines                    IA      50306
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
Dillards




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 15
Debtor 1       Tino Francisco Calderon
Debtor 2       Raymond C. McDermett                                                        Case number (if known)    19-11240

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


Hitachi Capital America C - LB                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 1880                                                 Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Minneapolis                     MN      55480
City                            State   ZIP Code


Hitachi Capital America Corp.                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
7808 Creekridge Circle, Suite 250                           Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         loan                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       0    0    0    1
Edina                           MN      55439
City                            State   ZIP Code


Jefferson Capital LLC                                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
16 McLeland Rd.                                             Line   4.29 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Saint Cloud                     MN      56303
City                            State   ZIP Code


Jefferson Capital Systems LLC                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 7999                                                 Line   4.29 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Saint Cloud                     MN      56302
City                            State   ZIP Code


Law Firm of McCarthy & Holthus LLP                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1255 West 15th Street Suite 1060                            Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Attorney for - JPMorgan             Part 2: Creditors with Nonpriority Unsecured Claims
                                                            Chase Bank
                                                            Last 4 digits of account number
Plano                           TX      75075
City                            State   ZIP Code




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 16
Debtor 1     Tino Francisco Calderon
Debtor 2     Raymond C. McDermett                                                 Case number (if known)    19-11240

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

McCarthy Holthus & Ackerman                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
POB 866668                                         Line   4.27 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Plano                     TX      75086
City                      State   ZIP Code


McCreary, Veselka, Bragg & Allen PC                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
POB 1269                                           Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                 Collecting for -                    Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Round Rock                TX      78680
City                      State   ZIP Code


Office of the Attorney General                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Bankruptcy Collections Division                    Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                 Notice Only for Texas
POB 12548                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
                                                   Comptroller of Public
                                                   Last 4 digits of account number
Austin                    TX      78711
City                      State   ZIP Code


Office of the Attorney General                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Bankruptcy Collections Division                    Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                 Notice Only for Texas
POB 12548                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
                                                   Comptroller of Public
                                                   Last 4 digits of account number
Austin                    TX      78711
City                      State   ZIP Code


Quantum3 Group LLC as agent for                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Comenity Bank                                      Line   4.16 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
PO Box 788                                                                             Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Kirkland                  WA      98083-0788
City                      State   ZIP Code


TABC                                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
POB 13127                                          Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Austin                    TX      78711
City                      State   ZIP Code




Official Form 106E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                          page 17
Debtor 1     Tino Francisco Calderon
Debtor 2     Raymond C. McDermett                                                 Case number (if known)    19-11240

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Texas Comptroller of Public Accounts               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
POB 13528                                          Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                 Comptroller taxes                   Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number       1    1    1    7
Austin                    TX      78711
City                      State   ZIP Code
To Be Paid Via Chapter 11.

Trugreen                                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 78611                                       Line   4.32 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Phoenix                   AZ      85062
City                      State   ZIP Code


Wilcox Law, PLLC                                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
P.O. Box 201849                                    Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                 Attorney for - TD Auto              Part 2: Creditors with Nonpriority Unsecured Claims
                                                   Finance
                                                   Last 4 digits of account number
Arlington                 TX      76006
City                      State   ZIP Code




Official Form 106E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                          page 18
Debtor 1       Tino Francisco Calderon
Debtor 2       Raymond C. McDermett                                                    Case number (if known)        19-11240

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.            $303,177.01

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.            $303,177.01




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.                     $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +        $355,528.03


                  6j.   Total.   Add lines 6f through 6i.                                            6j.            $355,528.03




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                      page 19
 Fill in this information to identify your case:
     Debtor 1              Tino                 Francisco              Calderon
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2              Raymond              C.                     McDermett                                An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   WESTERN DISTRICT OF TEXAS
                                                                                                                chapter 13 income as of the following date:
     Case number           19-11240
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Owner                                              Retired
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Caye South Management Group

      Occupation may include            Employer's address     6607 IH 35 North
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Austin                       TX       78752
                                                               City                         State    Zip Code     City                   State   Zip Code

                                        How long employed there?        27 Years

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                  $5,416.67                  $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +               $0.00                  $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.               $5,416.67                  $0.00




Official Form 106I                                            Schedule I: Your Income                                                                page 1
Debtor 1        Tino Francisco Calderon
Debtor 2        Raymond C. McDermett                                                                                             Case number (if known)    19-11240
                                                                                                                    For Debtor 1             For Debtor 2 or
                                                                                                                                             non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.              $5,416.67            $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.           $1,114.20                   $0.00
     5b. Mandatory contributions for retirement plans                                                       5b.               $0.00                   $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.               $0.00                   $0.00
     5d. Required repayments of retirement fund loans                                                       5d.               $0.00                   $0.00
     5e. Insurance                                                                                          5e.               $0.00                   $0.00
     5f. Domestic support obligations                                                                       5f.               $0.00                   $0.00
     5g. Union dues                                                                                         5g.               $0.00                   $0.00
     5h. Other deductions.
          Specify:                                                                                          5h. +                $0.00                $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                    6.            $1,114.20                   $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $4,302.47                   $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.                  $0.00                $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.
     8b. Interest and dividends                                                                             8b.                  $0.00                $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00                $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                          8d.                  $0.00               $0.00
     8e. Social Security                                                                                    8e.                  $0.00           $1,421.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.                  $0.00                $0.00
     8g. Pension or retirement income                                                                       8g.                  $0.00                $0.00
     8h. Other monthly income.
         Specify:                                                                                           8h. +                $0.00                $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.                   $0.00           $1,421.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $4,302.47 +         $1,421.00 =                                                   $5,723.47
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                             11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                             12.            $5,723.47
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                   Combined
                                                                                                                                                                     monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           Debtor's income from Caye South Management Group will be lower then anticipated.
        Yes. Explain:




Official Form 106I                                                               Schedule I: Your Income                                                                      page 2
 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Tino                   Francisco              Calderon                            An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              Raymond                C.                     McDermett
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    WESTERN DISTRICT OF TEXAS                                      MM / DD / YYYY
     Case number           19-11240
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                         No
      expenses of people other than                    Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $1,163.34
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.                    $732.00

      4b. Property, homeowner's, or renter's insurance                                                               4b.                    $125.30

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                    $150.00
      4d. Homeowner's association or condominium dues                                                                4d.                     $10.00




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
Debtor 1      Tino Francisco Calderon
Debtor 2      Raymond C. McDermett                                                     Case number (if known)   19-11240
                                                                                                          Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                     5.                      $242.52
6.   Utilities:

     6a. Electricity, heat, natural gas                                                             6a.                     $275.00
     6b. Water, sewer, garbage collection                                                           6b.                      $80.00
     6c. Telephone, cell phone, Internet, satellite, and                                            6c.                     $345.00
         cable services
     6d. Other. Specify:                                                                            6d.

7.   Food and housekeeping supplies                                                                 7.                      $700.00
8.   Childcare and children's education costs                                                       8.

9.   Clothing, laundry, and dry cleaning                                                            9.                      $175.00
10. Personal care products and services                                                             10.                      $50.00
11. Medical and dental expenses                                                                     11.                     $383.02
12. Transportation. Include gas, maintenance, bus or train                                          12.                     $300.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                   13.                     $100.00
    magazines, and books
14. Charitable contributions and religious donations                                                14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                          15a.                    $225.00
     15b.   Health insurance                                                                        15b.                   $1,100.34
     15c.   Vehicle insurance                                                                       15c.                    $150.00
     15d.   Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                        16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1                                                              17a.

     17b.   Car payments for Vehicle 2                                                              17b.

     17c.   Other. Specify: IRS payment anticipated                                                 17c.                    $500.00
     17d.   Other. Specify:                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as                   18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                        19.




 Official Form 106J                                        Schedule J: Your Expenses                                           page 2
Debtor 1      Tino Francisco Calderon
Debtor 2      Raymond C. McDermett                                                             Case number (if known)   19-11240
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify: See continuation sheet                                                                   21.    +               $118.80
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.                  $6,925.32
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.                  $6,925.32

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.                  $5,723.47
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –              $6,925.32
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.              ($1,201.85)

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                Debtor's typically spend more on food, clothing, and other items.




 Official Form 106J                                         Schedule J: Your Expenses                                                  page 3
Debtor 1    Tino Francisco Calderon
Debtor 2    Raymond C. McDermett                                  Case number (if known)   19-11240


21. Other. Specify:
    Home Warranty                                                                                      $56.25
    Pet Care                                                                                           $62.55

                                                                        Total:                        $118.80




 Official Form 106J                   Schedule J: Your Expenses                                          page 4
 Fill in this information to identify your case:
 Debtor 1                Tino                          Francisco                     Calderon
                         First Name                    Middle Name                   Last Name

 Debtor 2            Raymond                           C.                            McDermett
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number             19-11240                                                                                                                         Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $597,176.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                       $219,050.80
     1b. Copy line 62, Total personal property, from Schedule A/B......................................................................................................................................................


                                                                                                                                                                            $816,226.80
     1c. Copy line 63, Total of all property on Schedule A/B................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $314,468.56
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                      $303,177.01
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +               $355,528.03
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                         $973,173.60




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $5,723.47
     Copy your combined monthly income from line 12 of Schedule I....................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $6,925.32




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
Debtor 1      Tino Francisco Calderon
Debtor 2      Raymond C. McDermett                                                         Case number (if known)     19-11240


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                 $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                $303,177.01


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                               $0.00


     9d. Student loans. (Copy line 6f.)                                                                                $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                       $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                  $0.00


     9g. Total.    Add lines 9a through 9f.                                                                   $303,177.01




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
 Fill in this information to identify your case:
 Debtor 1          Tino                 Francisco            Calderon
                   First Name           Middle Name          Last Name

 Debtor 2            Raymond            C.                   McDermett
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number       19-11240                                                                                  Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



              Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

         No

         Yes. Name of person                                                                 Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Tino Francisco Calderon                          X /s/ Raymond C. McDermett
        Tino Francisco Calderon, Debtor 1                     Raymond C. McDermett, Debtor 2

        Date 11/27/2019                                       Date 11/27/2019
             MM / DD / YYYY                                        MM / DD / YYYY




Official Form 106Dec                         Declaration About an Individual Debtor's Schedules                                        page 1
 Fill in this information to identify your case:
 Debtor 1              Tino               Francisco               Calderon
                       First Name         Middle Name             Last Name

 Debtor 2            Raymond              C.                      McDermett
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number           19-11240                                                                                                Check if this is an
 (if known)
                                                                                                                               amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:           List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral         What do you intend to do with the            Did you claim the property
                                                                        property that secures a debt?                as exempt on Schedule C?

      Creditor's        Austin Telco Fcu                                      Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    CD                                                    Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:


      Creditor's        Chase Mortgage                                        Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    112 Roble Roja Drive                                  Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:


      Creditor's        HomeBridge Financial Services                         Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    112 Roble Roja Drive                                  Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:




Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                     page 1
Debtor 1     Tino Francisco Calderon
Debtor 2     Raymond C. McDermett                                                    Case number (if known)     19-11240

    Identify the creditor and the property that is collateral      What do you intend to do with the            Did you claim the property
                                                                   property that secures a debt?                as exempt on Schedule C?
    Creditor's       TD Auto Finance LLC                                Surrender the property.                      No
    name:                                                               Retain the property and redeem it.           Yes
    Description of   2019 Ram Truck                                     Retain the property and enter into a
    property                                                            Reaffirmation Agreement.
    securing debt:                                                      Retain the property and [explain]:


    Creditor's       Williamson County Appraisal District               Surrender the property.                      No
    name:                                                               Retain the property and redeem it.           Yes
    Description of   S9276 - SHADY OAKS ESTATES SEC 4                   Retain the property and enter into a
    property                                                            Reaffirmation Agreement.
                     PH 5, BLOCK E, Lo
    securing debt:                                                      Retain the property and [explain]:



 Part 2:         List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

    Describe your unexpired personal property leases                                                           Will this lease be assumed?

    None.


 Part 3:         Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.

X /s/ Tino Francisco Calderon                          X /s/ Raymond C. McDermett
   Tino Francisco Calderon, Debtor 1                       Raymond C. McDermett, Debtor 2

   Date 11/27/2019                                         Date 11/27/2019
        MM / DD / YYYY                                          MM / DD / YYYY




Official Form 108                       Statement of Intention for Individuals Filing Under Chapter 7                                 page 2
B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                             WESTERN DISTRICT OF TEXAS
                                                                   AUSTIN DIVISION
In re Tino Francisco Calderon                                                                                                       Case No.           19-11240
      Raymond C. McDermett
                                                                                                                                    Chapter            7
                                                                                          AMENDED
                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                 $2,724.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $2,724.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   Any work related to adversary proceedings.




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                   11/27/2019                         /s/ CHRISTY HEIMER
                      Date                            CHRISTY HEIMER                             Bar No. 24057894
                                                      Heimer Law Offices P.C.
                                                      6633 Highway 290 East
                                                      Suite 205
                                                      Austin, Texas 78723
                                                      Phone: (512) 291-7105 / Fax: (512) 291-7106



    /s/ Tino Francisco Calderon                                     /s/ Raymond C. McDermett
   Tino Francisco Calderon                                         Raymond C. McDermett
 Fill in this information to identify your case:
 Debtor 1            Tino                    Francisco           Calderon
                     First Name              Middle Name         Last Name

 Debtor 2            Raymond                 C.                  McDermett
 (Spouse, if filing) First Name              Middle Name         Last Name


 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number         19-11240
 (if known)
                                                                                                       Check if this is an amended filing


Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                          12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe
that you are exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are
filing together, and any of the exclusions in this statement applies to only one of you, the other person should complete a
separate Form 122A-1 if you believe that this is required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:       Identify the Kind of Debts You Have
1.   Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary
     Petition for Individuals Filing for Bankruptcy (Official Form 101).

         No.    Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                submit this supplement with the signed Form 122A-1.

         Yes. Go to Part 2.

 Part 2:       Determine Whether Military Service Provisions Apply to You
2.   Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
         No.    Go to line 3.
         Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
              10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                      No.    Go to line 3.
                      Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                           Then submit this supplement with the signed Form 122A-1.
3.   Are you or have you been a Reservist or member of the National Guard?
         No.    Complete Form 122A-1. Do not submit this supplement.
         Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
               No.    Complete Form 122A-1. Do not submit this supplement.
               Yes. Check any one of the following categories that applies:

                     I was called to active duty after September 11, 2001,           If you checked one of the categories to the left, go to
                     for at least 90 days and remain on active duty.                 Form 122A-1. On the top of page 1 of Form 122A-1, check
                     I was called to active duty after September 11, 2001,           box 3, The Means Test does not apply now and sign
                     for at least 90 days and was released from active duty on       Part 3. Then submit this supplement with the signed Form
                                           which is fewer than 540 days before I     122A-1. You are not required to fill out the rest of Official
                     file this bankruptcy case.                                      Form 122A-1 during the exclusion period. The exclusion
                                                                                     period means the time you are on active duty or are
                     I am performing a homeland defense activity for at              performing a homeland defense activity, and for 540 days
                     least 90 days.                                                  afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                     I performed a homeland defense activity for at
                     least 90 days, ending on                        , which is      If your exclusion period ends before your case is closed,
                     fewer than 540 days before I file this bankruptcy case.         you may have to file an amended form later.




Official Form 122A-1Supp             Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                     page 1
 Fill in this information to identify your case:                                             Check one box only as directed in this
                                                                                             form and in Form 122A-1Supp:
 Debtor 1           Tino                 Francisco             Calderon
                    First Name           Middle Name           Last Name                       1. There is no presumption of abuse.

 Debtor 2            Raymond             C.                    McDermett                       2. The calculation to determine if a presumption
 (Spouse, if filing) First Name          Middle Name           Last Name                          of abuse applies will be made under Chapter 7
                                                                                                  Means Test Calculation (Official Form 122A-2).
 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS
                                                                                               3. The Means Test does not apply now because
 Case number        19-11240                                                                      of qualified military service but it could apply
 (if known)                                                                                       later.

                                                                                                 Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.


 Part 1:       Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

          Married and your spouse is NOT filing with you. You and your spouse are:

               Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
               declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
               and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).


     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions
     (before all payroll deductions).

3.   Alimony and maintenance payments. Do not include payments from a spouse
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.




Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                              page 1
Debtor 1        Tino Francisco Calderon
Debtor 2        Raymond C. McDermett                                                                                                Case number (if known) 19-11240

                                                                                                                                         Column A    Column B
                                                                                                                                         Debtor 1    Debtor 2 or
                                                                                                                                                     non-filing spouse

5.   Net income from operating a business, profession, or farm

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all
     deductions)

     Ordinary and necessary operating                     –                              –
     expenses
                                                                                                                       Copy
     Net monthly income from a business,                                                                               here
     profession, or farm

6.   Net income from rental and other real property

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all
     deductions)

     Ordinary and necessary operating                     –                              –
     expenses
                                                                                                                       Copy
     Net monthly income from rental or                                                                                 here
     other real property

7.   Interest, dividends, and royalties

8.   Unemployment compensation

     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: ...............................................


         For you............................................................................................................................

         For your spouse..............................................................................................................

9.   Pension or retirement income. Do not include any amount received that
     was a benefit under the Social Security Act.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.




     Total amounts from separate pages, if any.                                                                                   +                 +
11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                                                                         +                 =
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                         Total current
                                                                                                                                                                         monthly income




Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                               page 2
Debtor 1       Tino Francisco Calderon
Debtor 2       Raymond C. McDermett                                                                                Case number (if known) 19-11240

 Part 2:         Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a.    Copy your total current monthly income from line 11....................................................................................................................
                                                                                                                       Copy line 11 here                       12a.

            Multiply by 12 (the number of months in a year).                                                                                                               X          12

    12b.    The result is your annual income for this part of the form.                                                                                           12b.


13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.

    Fill in the number of people in your household.


    Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                          13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

    14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.
    14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                   Go to Part 3 and fill out Form 122A-2.


 Part 3:         Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X    /s/ Tino Francisco Calderon                                                               X    /s/ Raymond C. McDermett
           Tino Francisco Calderon, Debtor 1                                                              Raymond C. McDermett, Debtor 2

           Date 11/27/2019                                                                                Date 11/27/2019
                MM / DD / YYYY                                                                                 MM / DD / YYYY

      If you checked line 14a, do NOT fill out or file Form 122A-2.

      If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                     Chapter 7 Statement of Your Current Monthly Income                                                                            page 3
